Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05                                           Desc: Main
                           Document Page 1 of 54



                                IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO

            In re:
                                                                                   PROMESA
            THE FINANCIAL OVERSIGHT AND                                            Title III
            MANAGEMENT BOARD FOR PUERTO RICO,
                                                                                   No. 17 BK 3283-LTS
                                  as representative of
                                                                                   (Jointly Administered)
            THE COMMONWEALTH OF PUERTO RICO, et al.

                                        Debtors. 1

                         NOTICE OF WITHDRAWAL OF THE DRA PARTIES’
                              PLAN OBJECTION RELATED FILINGS

  To the Honorable United States District Court Judge Laura Taylor Swain:

           AmeriNational Community Services, LLC (the “Servicer”), as servicer for the GDB Debt
  Recovery Authority (the “DRA”), and Cantor-Katz Collateral Monitor LLC, a Delaware limited
  liability company (the “Collateral Monitor” and, together with the Servicer, collectively, the “DRA
  Parties”), which serves as the collateral monitor for Wilmington Trust, N.A. in connection with
  bonds the DRA issued, respectfully notifies and informs the Court and parties in interest that the
  following docket entries are hereby immediately withdrawn from the instant case in compliance
  with the terms of the Stipulation in Connection with DRA Related Disputes, Exhibit A of Dkt. No.
  19100 (the “Stipulation”):

                                                           18042           MOTION to inform the DRA Parties'
                                                           (4 pgs)         Opening Expert Disclosures filed by
                                                                           NAYUAN ZOUAIRABANI
                                                                           TRINIDAD on behalf of
                                                                           AmeriNational Community Services,
                                                                           LLC, Cantor-Katz Collateral Monitor
      09/06/2021                                                           LLC [ZOUAIRABANI TRINIDAD,


  1
       The Debtors in these Title III cases, along with each Debtor’s respective Title III case number listed as a bankruptcy
       case number due to software limitations and the last four digits of each Debtor’s federal tax identification number,
       as applicable, are the (i) Commonwealth of Puerto Rico (Bankruptcy Case No. 17-BK-3283 (LTS)) (Last Four
       Digits of Federal Tax ID: 3481), (ii) Employees Retirement System of the Government of the Commonwealth of
       Puerto Rico (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last Four Digits of Federal Tax ID: 9686), (iii) Puerto
       Rico Highways and Transportation Authority (Bankruptcy Case No. 17-BK-3567 (LTS)) (Last Four Digits of
       Federal Tax ID: 3808), (iv) Puerto Rico Sales Tax Financing Corporation (Bankruptcy Case No. 17-BK-3284
       (LTS)) (Last Four Digits of Federal Tax ID: 8474); (v) Puerto Rico Electric Power Authority (Bankruptcy Case
       No. 17-4780 (LTS)) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority
       (Bankruptcy Case No. 19-BK-5233-LTS) (Last Four Digits of Federal Tax ID: 3801).

                                                               1
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 2 of 54



                                                NAYUAN]. Related
                                                document(s) 17640 Order Granting
                                                Motion. Modified on 9/7/2021 (ct).
                                                (Entered: 09/06/2021)

                                     18043      MOTION to inform the DRA Parties'
                                     (4 pgs)    Preliminary Fact Witness List filed by
                                                NAYUAN ZOUAIRABANI
                                                TRINIDAD on behalf of
                                                AmeriNational Community Services,
                                                LLC, Cantor-Katz Collateral Monitor
                                                LLC [ZOUAIRABANI TRINIDAD,
                                                NAYUAN]. Related
                                                document(s) 17640 Order Granting
                                                Motion. Modified on 9/7/2021 (ct).
   09/06/2021                                   (Entered: 09/06/2021)

                                     18340      MOTION MOTION IN LIMINE TO
                                     (29 pgs;   EXCLUDE CERTAIN FRCP
                                     2 docs)    26(a)(2)(C) EXPERT WITNESSES
                                                OR TESTIMONY (Attachments:
                                                # 1 Proposed Order) filed by
                                                CARMEN D CONDE TORRES on
                                                behalf of AmeriNational Community
                                                Services, LLC, Cantor-Katz
                                                Collateral Monitor LLC [CONDE
                                                TORRES, CARMEN] (Entered:
   09/30/2021                                   09/30/2021)

                                     18341      Notice MOTION IN LIMINE TO
                                     (4 pgs)    EXCLUDE CERTAIN FRCP
                                                26(a)(2)(C) EXPERT WITNESSES
                                                OR TESTIMONY
                                                Re: 18340 MOTION MOTION IN
                                                LIMINE TO EXCLUDE CERTAIN
                                                FRCP 26(a)(2)(C) EXPERT
                                                WITNESSES OR TESTIMONY filed
                                                by AmeriNational Community
                                                Services, LLC, Cantor-Katz
                                                Collateral Monitor LLC filed by
                                                CARMEN D CONDE TORRES on
                                                behalf of AmeriNational Community
                                                Services, LLC, Cantor-Katz
                                                Collateral Monitor LLC [CONDE
                                                TORRES, CARMEN] (Entered:
   09/30/2021                                   09/30/2021)

                                        2
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05      Desc: Main
                           Document Page 3 of 54



                                     18342      MOTION MOTION IN LIMINE TO
                                     (11 pgs)   EXCLUDE CERTAIN OPINIONS
                                                OFFERED BY DEBTORS' EXPERT
                                                WITNESS MARTI P. MURRAY
                                                filed by CARMEN D CONDE
                                                TORRES on behalf of AmeriNational
                                                Community Services, LLC, Cantor-
                                                Katz Collateral Monitor LLC
                                                [CONDE TORRES, CARMEN]
   09/30/2021                                   (Entered: 09/30/2021)

                                     18343      Notice MOTION IN LIMINE TO
                                     (4 pgs)    EXCLUDE CERTAIN OPINIONS
                                                OFFERED BY THE DEBTORS'
                                                EXPERT WITNESS MARTI P.
                                                MURRAY Re: 18342 MOTION
                                                MOTION IN LIMINE TO
                                                EXCLUDE CERTAIN OPINIONS
                                                OFFERED BY DEBTORS' EXPERT
                                                WITNESS MARTI P. MURRAY
                                                filed by AmeriNational Community
                                                Services, LLC, Cantor-Katz
                                                Collateral Monitor LLC filed by
                                                CARMEN D CONDE TORRES on
                                                behalf of AmeriNational Community
                                                Services, LLC, Cantor-Katz
                                                Collateral Monitor LLC [CONDE
                                                TORRES, CARMEN] (Entered:
   09/30/2021                                   09/30/2021)

                                     18386      MOTION to inform the DRA Parties'
                                     (4 pgs)    Rebuttal Expert Disclosure filed by
                                                NAYUAN ZOUAIRABANI
                                                TRINIDAD on behalf of
                                                AmeriNational Community Services,
                                                LLC, Cantor-Katz Collateral Monitor
                                                LLC [ZOUAIRABANI TRINIDAD,
   10/04/2021                                   NAYUAN] (Entered: 10/04/2021)

                                     18434      Urgent motion DRA PARTIES
                                     (9 pgs)    REQUESTING LEAVE TO
                                                SUPPLEMENT THEIR REBUTTAL
                                                EXPERT REPORT AFTER
                                                DEADLINE FOR SUCH REPORTS
                                                SET FORTH IN THE
   10/07/2021                                   CONFIRMATION PROCEDURES

                                        3
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05       Desc: Main
                           Document Page 4 of 54



                                                ORDER Re: 17640 Order Granting
                                                Motion filed by CARMEN D
                                                CONDE TORRES on behalf of
                                                AmeriNational Community Services,
                                                LLC, Cantor-Katz Collateral Monitor
                                                LLC [CONDE TORRES, CARMEN]
                                                (Entered: 10/07/2021)

                                     18445      Motion Submitting Motion Filing the
                                     (52 pgs;   DRA Parties Rebuttal Expert Report
                                     2 docs)    in Compliance with the Amended
                                                Confirmation Procedures Order
                                                Re: 18394 Order (Attachments:
                                                # 1 Exhibit A - DRA Parties Rebuttal
                                                Expert Report) filed by NAYUAN
                                                ZOUAIRABANI TRINIDAD on
                                                behalf of AmeriNational Community
   10/08/2021                                   Services, LLC, C

                                     18519      Memorandum of law DRA Parties
                                     (21 pgs)   Memorandum of Law in Opposition
                                                to Debtors Motion in Limine for
                                                Order Excluding Expert Testimony of
                                                Lizette Martinez Re: 18328 MOTION
                                                - Memorandum of Law in Support of
                                                Debtors' Motion in limine for Order
                                                Excluding Expert Testimony of
                                                Lizette Martinez filed by The
                                                Financial Oversight and Management
                                                Board for Puerto Rico, as
                                                Representative of the Commonwealth
                                                of Puerto Rico, et al. filed by
                                                NAYUAN ZOUAIRABANI
                                                TRINIDAD on behalf of
                                                AmeriNational Community Services,
                                                LLC, Cantor-Katz Collateral Monitor
                                                LLC [ZOUAIRABANI TRINIDAD,
   10/15/2021                                   NAYUAN] (Entered: 10/15/2021)

                                     18521      Memorandum of law DRA Parties
                                     (19 pgs)   Opposition to Debtors Motion for
                                                Order Excluding Expert Testimony of
                                                Douglas
                                                Brickley Re: 18331 MOTION -
                                                Memorandum of Law in Support of
   10/15/2021                                   Debtors' Motion for Order Excluding

                                        4
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05         Desc: Main
                           Document Page 5 of 54



                                                 Expert Testimony of Douglas J.
                                                 Brickley filed by The Financial
                                                 Oversight and Management Board for
                                                 Puerto Rico, as Representative of the
                                                 Commonwealth of Puerto Rico, et al.
                                                 filed by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
                                                 NAYUAN] (Entered: 10/15/2021)

                                     18590       Objection to Objection of the DRA
                                     (88 pgs)    Parties to the Seventh Amended Title
                                                 III Joint Plan of Adjustment of the
                                                 Commonwealth of Puerto Rico, et al.
                                                 [Dkt. No. 17627] Related
                                                 document:17627 MOTION - Seventh
                                                 Amended Title III Joint Plan of
                                                 Adjustment of the Commonwealth of
                                                 Puerto Rico, et al. filed by The
                                                 Financial Oversight and Management
                                                 Board for Puerto Rico, as
                                                 Representative of the Commonwealth
                                                 of Puerto Rico, et al. filed by
                                                 NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/19/2021                                    NAYUAN] (Entered: 10/19/2021)

                                     18596      Affidavit Submitting
                                     (1840 pgs; Documents Declaration of Nayuan
                                     24 docs)   Zouarabani Trinidad in Support of the
                                                Objection of the DRA Parties to the
                                                Seventh Amended Title III Joint Plan
                                                of Adjustment of the Commonwealth
                                                of Puerto Rico, et al. [Dkt. No.
                                                17627] Re: 18590 Objection filed by
                                                AmeriNational Community Services,
                                                LLC, Cantor-Katz Collateral Monitor
                                                LLC (Attachments: # 1 Exhibit A
                                                # 2 Exhibit B # 3 Exhibit C
                                                # 4 Exhibit D # 5 Exhibit E
   10/19/2021                                   # 6 Exhibit F # 7 Exhibit G

                                        5
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05      Desc: Main
                           Document Page 6 of 54



                                               # 8 Exhibit H # 9 Exhibit I
                                               # 10 Exhibit J # 11 Exhibit K
                                               # 12 Exhibit L # 13 Exhibit M
                                               # 14 Exhibit N # 15 Exhibit O
                                               # 16 Exhibit P # 17 Exhibit Q
                                               # 18 Exhibit R # 19 Exhibit S
                                               # 20 Exhibit T # 21 Exhibit U
                                               # 22 Exhibit V # 23 Exhibit W) filed
                                               by NAYUAN ZOUAIRABANI
                                               TRINIDAD on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [ZOUAIRABANI TRINIDAD,
                                               NAYUAN] (Entered: 10/19/2021)

                                     18636     Sealed Motion Objection of the DRA
                                               Parties to the Seventh Amended Title
                                               III Joint Plan of Adjustment of the
                                               Commonwealth of Puerto Rico, et al.
                                               [Dkt. No. 17627] Re:18633 Order on
                                               Motion to Seal Document
                                               (Attachments: # 1 Declaration of
                                               Nayuan Zouairabani Trinidad in
                                               Support of Objection of the DRA
                                               Parties to the Seventh Amended Title
                                               III Joint Plan of Adjustment of the
                                               Commonwealth of Puerto Rico, et al.
                                               [Dkt. No. 17627] # 2 Exhibit A
                                               # 3 Exhibit B # 4 Exhibit C
                                               # 5 Exhibit D # 6 Exhibit E
                                               # 7 Exhibit F # 8 Exhibit G
                                               # 9 Exhibit H # 10 Exhibit I
                                               # 11 Exhibit J # 12 Exhibit K
                                               # 13 Exhibit L # 14 Exhibit M
                                               # 15 Exhibit N # 16 Exhibit O
                                               # 17 Exhibit P # 18 Exhibit Q
                                               # 19 Exhibit R # 20 Exhibit S
                                               # 21 Exhibit T # 22 Exhibit U
                                               # 23 Exhibit V # 24 Exhibit W) filed
                                               by NAYUAN ZOUAIRABANI
                                               TRINIDAD on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [ZOUAIRABANI TRINIDAD,
   10/21/2021                                  NAYUAN] (Entered: 10/21/2021)


                                        6
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05       Desc: Main
                           Document Page 7 of 54



                                     18675      Motion Submitting the DRA Parties
                                                Confirmation Hearing Witness List,
                                                Exhibit List and Deposition
                                                Designations Re: 18394 Order filed
                                                by NAYUAN ZOUAIRABANI
                                                TRINIDAD on behalf of
                                                AmeriNational Community Services,
                                                LLC, Cantor-Katz Collateral Monitor
                                                LLC [ZOUAIRABANI TRINIDAD,
                                                NAYUAN] Modified on 10/26/2021
                                                to restrict access as requested by
                                                counsel and chambers (ct). (Entered:
   10/22/2021                                   10/22/2021)

                                     18677      REPLY to Response to Motion DRA
                                     (36 pgs;   Parties Reply Memorandum of Law
                                     3 docs)    in Support of their Motion in Limine
                                                to Exclude Certain Testimony
                                                Offered by Debtors Plan Expert Marti
                                                P. Murray Re: 18342 MOTION
                                                MOTION IN LIMINE TO
                                                EXCLUDE CERTAIN OPINIONS
                                                OFFERED BY DEBTORS' EXPERT
                                                WITNESS MARTI P. MURRAY
                                                filed by AmeriNational Community
                                                Services, LLC, Cantor-Katz
                                                Collateral Monitor LLC
                                                (Attachments: # 1 Declaration of
                                                Nayuan Zouairabani # 2 Exhibit A)
                                                filed by NAYUAN ZOUAIRABANI
                                                TRINIDAD on behalf of
                                                AmeriNational Community Services,
                                                LLC, Cantor-Katz Collateral Monitor
                                                LLC [ZOUAIRABANI TRINIDAD,
   10/22/2021                                   NAYUAN] (Entered: 10/22/2021)

                                     18685      Objection to THE PROPOSED
                                     (31 pgs)   ORDER AND JUDGMENT
                                                CONFIRMING SEVENTH
                                                AMENDED TITLE III JOINT PLAN
                                                OF ADJUSTMENT OF THE
                                                COMMONWEALTH OF PUERTO
                                                RICO, ET AL. Related
                                                document:18447 Notice filed by The
                                                Financial Oversight and Management
   10/22/2021                                   Board for Puerto Rico, as

                                        7
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05         Desc: Main
                           Document Page 8 of 54



                                                 Representative of the Commonwealth
                                                 of Puerto Rico, et al. filed by
                                                 CARMEN D CONDE TORRES on
                                                 behalf of AmeriNational Community
                                                 Services, LLC, Cantor-Katz
                                                 Collateral Monitor LLC [CONDE
                                                 TORRES, CARMEN] (Entered:
                                                 10/22/2021)

                                     18686       DRA PARTIES REPLY TO
                                     (112 pgs;   MEMORANDUM OF LAW
                                     3 docs)     OPPOSING DRA PARTIES
                                                 MOTION IN LIMINE TO
                                                 EXCLUDE CERTAIN FRCP
                                                 26(a)(2)(C) EXPERT WITNESSES
                                                 OR TESTIMONY/
                                                 re:18522 Memorandum of Law filed
                                                 by The Financial Oversight and
                                                 Management Board for Puerto Rico,
                                                 as Representative of the
                                                 Commonwealth of Puerto Rico, et al.
                                                 (Attachments: # 1 Declaration of
                                                 Carmen D. Conde # 2 Exhibits A-C)
                                                 filed by CARMEN D CONDE
                                                 TORRES on behalf of AmeriNational
                                                 Community Services, LLC, Cantor-
                                                 Katz Collateral Monitor LLC
                                                 [CONDE TORRES, CARMEN].
                                                 Related document(s) 18340 MOTION
                                                 MOTION IN LIMINE TO
                                                 EXCLUDE CERTAIN FRCP
                                                 26(a)(2)(C) EXPERT WITNESSES
                                                 OR TESTIMONY filed by Creditor
                                                 AmeriNational Community Services,
                                                 LLC, Creditor Cantor-Katz Collateral
                                                 Monitor LLC. Modified on
                                                 10/25/2021 to add relationship to dkt.
                                                 no. 18340. (Ramirez, Marian).
   10/22/2021                                    (Entered: 10/22/2021)

                                     18723       Motion Submitting The DRA Parties
                                     (304 pgs;   Motion Submitting Witness
                                     5 docs)     Declarations
                                                 Re: 18394 Order, 18502 Order
                                                 (Attachments: # 1 Exhibit A
   10/25/2021                                    # 2 Exhibit B # 3 Exhibit C

                                        8
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05         Desc: Main
                           Document Page 9 of 54



                                                 # 4 Exhibit D) filed by NAYUAN
                                                 ZOUAIRABANI TRINIDAD on
                                                 behalf of AmeriNational Community
                                                 Services, LLC, Cantor-Katz
                                                 Collateral Monitor LLC
                                                 [ZOUAIRABANI TRINIDAD,
                                                 NAYUAN] (Entered: 10/25/2021)

                                     18768       Motion Submitting The DRA Parties
                                     (238 pgs;   Confirmation Hearing Amended
                                     16 docs)    Exhibit List
                                                 Re: 18502 Order, 18749 Order
                                                 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 1 # 2 Exhibit DRA Exhibit 2
                                                 # 3 Exhibit DRA Exhibit 3
                                                 # 4 Exhibit DRA Exhibit 4
                                                 # 5 Exhibit DRA Exhibit 5
                                                 # 6 Exhibit DRA Exhibit 6
                                                 # 7 Exhibit DRA Exhibit 7
                                                 # 8 Exhibit DRA Exhibit 8
                                                 # 9 Exhibit DRA Exhibit 9
                                                 # 10 Exhibit DRA Exhibit 10
                                                 # 11 Exhibit DRA Exhibit 11
                                                 # 12 Exhibit DRA Exhibit 12
                                                 # 13 Exhibit DRA Exhibit 13
                                                 # 14 Exhibit DRA Exhibit 14
                                                 # 15 Exhibit DRA Exhibit 15) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18769       Motion Submitting Continued
                                     (187 pgs;   Exhibits of DRA Parties: Exhibits 16
                                     12 docs)    - 26 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 16 # 2 Exhibit DRA Exhibit
                                                 17 # 3 Exhibit DRA Exhibit 18
                                                 # 4 Exhibit DRA Exhibit 19
                                                 # 5 Exhibit DRA Exhibit 20
                                                 # 6 Exhibit DRA Exhibit 21
                                                 # 7 Exhibit DRA Exhibit 22
                                                 # 8 Exhibit DRA Exhibit 23
                                                 # 9 Exhibit DRA Exhibit 24
   10/27/2021                                    # 10 Exhibit DRA Exhibit 25

                                        9
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05         Desc: Main
                           Document Page 10 of 54



                                                 # 11 Exhibit DRA Exhibit 26) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
                                                 NAYUAN] (Entered: 10/27/2021)

                                     18770       Motion Submitting Continued
                                     (165 pgs;   Exhibits of DRA Parties: Exhibits 27
                                     10 docs)    - 35 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 27 # 2 Exhibit DRA Exhibit
                                                 28 # 3 Exhibit DRA Exhibit 29
                                                 # 4 Exhibit DRA Exhibit 30
                                                 # 5 Exhibit DRA Exhibit 31
                                                 # 6 Exhibit DRA Exhibit 32
                                                 # 7 Exhibit DRA Exhibit 33
                                                 # 8 Exhibit DRA Exhibit 34
                                                 # 9 Exhibit DRA Exhibit 35) filed by
                                                 NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18771       Motion Submitting Continued
                                     (203 pgs;   Exhibits of DRA Parties: Exhibits 36
                                     23 docs)    - 57 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 36 # 2 Exhibit DRA Exhibit
                                                 37 # 3 Exhibit DRA Exhibit 38
                                                 # 4 Exhibit DRA Exhibit 39
                                                 # 5 Exhibit DRA Exhibit 40
                                                 # 6 Exhibit DRA Exhibit 41
                                                 # 7 Exhibit DRA Exhibit 42
                                                 # 8 Exhibit DRA Exhibit 43
                                                 # 9 Exhibit DRA Exhibit 44
                                                 # 10 Exhibit DRA Exhibit 45
                                                 # 11 Exhibit DRA Exhibit 46
                                                 # 12 Exhibit DRA Exhibit 47
                                                 # 13 Exhibit DRA Exhibit 48
                                                 # 14 Exhibit DRA Exhibit 49
                                                 # 15 Exhibit DRA Exhibit 50
                                                 # 16 Exhibit DRA Exhibit 51
                                                 # 17 Exhibit DRA Exhibit 52
   10/27/2021                                    # 18 Exhibit DRA Exhibit 53

                                       10
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05         Desc: Main
                           Document Page 11 of 54



                                                 # 19 Exhibit DRA Exhibit 54
                                                 # 20 Exhibit DRA Exhibit 55
                                                 # 21 Exhibit DRA Exhibit 56
                                                 # 22 Exhibit DRA Exhibit 57) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
                                                 NAYUAN] (Entered: 10/27/2021)

                                     18772       Motion Submitting Continued
                                     (300 pgs;   Exhibits of DRA Parties: Exhibits 58
                                     21 docs)    - 77 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 58 # 2 Exhibit DRA Exhibit
                                                 59 # 3 Exhibit DRA Exhibit 60
                                                 # 4 Exhibit DRA Exhibit 61
                                                 # 5 Exhibit DRA Exhibit 62
                                                 # 6 Exhibit DRA Exhibit 63
                                                 # 7 Exhibit DRA Exhibit 64
                                                 # 8 Exhibit DRA Exhibit 66
                                                 # 9 Exhibit DRA Exhibit 66
                                                 # 10 Exhibit DRA Exhibit 67
                                                 # 11 Exhibit DRA Exhibit 68
                                                 # 12 Exhibit DRA Exhibit 69
                                                 # 13 Exhibit DRA Exhibit 70
                                                 # 14 Exhibit DRA Exhibit 71
                                                 # 15 Exhibit DRA Exhibit 72
                                                 # 16 Exhibit 73 # 17 Exhibit DRA
                                                 Exhibit 74 # 18 Exhibit DRA Exhibit
                                                 75 # 19 Exhibit DRA Exhibit 76
                                                 # 20 Exhibit DRA Exhibit 77) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18773       Motion Submitting Continued
                                     (305 pgs;   Exhibits of DRA Parties: Exhibits 78
                                     20 docs)    - 96 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 78 # 2 Exhibit DRA Exhibit
                                                 79 # 3 Exhibit DRA Exhibit 80
                                                 # 4 Exhibit DRA Exhibit 81
   10/27/2021                                    # 5 Exhibit DRA Exhibit 82

                                       11
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 12 of 54



                                                 # 6 Exhibit DRA Exhibit 83
                                                 # 7 Exhibit DRA Exhibit 84
                                                 # 8 Exhibit DRA Exhibit 85
                                                 # 9 Exhibit DRA Exhibit 86
                                                 # 10 Exhibit DRA Exhibit 87
                                                 # 11 Exhibit DRA Exhibit 88
                                                 # 12 Exhibit DRA Exhibit 89
                                                 # 13 Exhibit DRA Exhibit 90
                                                 # 14 Exhibit DRA Exhibit 91
                                                 # 15 Exhibit DRA Exhibit 92
                                                 # 16 Exhibit DRA Exhibit 93
                                                 # 17 Exhibit DRA Exhibit 94
                                                 # 18 Exhibit DRA Exhibit 95
                                                 # 19 Exhibit DRA Exhibit 96) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
                                                 NAYUAN] (Entered: 10/27/2021)

                                     18774       Motion Submitting Continued
                                     (282 pgs;   Exhibits of DRA Parties: Exhibits 97
                                     17 docs)    - 112 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 97 # 2 Exhibit DRA Exhibit
                                                 98 # 3 Exhibit DRA Exhibit 99
                                                 # 4 Exhibit DRA Exhibit 100
                                                 # 5 Exhibit DRA Exhibit 101
                                                 # 6 Exhibit DRA Exhibit 102
                                                 # 7 Exhibit DRA Exhibit 103
                                                 # 8 Exhibit DRA Exhibit 104
                                                 # 9 Exhibit DRA Exhibit 105
                                                 # 10 Exhibit DRA Exhibit 106
                                                 # 11 Exhibit DRA Exhibit 107
                                                 # 12 Exhibit DRA Exhibit 108
                                                 # 13 Exhibit DRA Exhibit 109
                                                 # 14 Exhibit DRA Exhibit 110
                                                 # 15 Exhibit DRA Exhibit 111
                                                 # 16 Exhibit DRA Exhibit 112) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)


                                       12
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 13 of 54



                                     18775       Motion Submitting Continued
                                     (277 pgs;   Exhibits of DRA Parties: Exhibits 113
                                     15 docs)    - 126 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 113 # 2 Exhibit DRA Exhibit
                                                 114 # 3 Exhibit DRA Exhibit 115
                                                 # 4 Exhibit DRA Exhibit 116
                                                 # 5 Exhibit DRA Exhibit 117
                                                 # 6 Exhibit DRA Exhibit 118
                                                 # 7 Exhibit DRA Exhibit 119
                                                 # 8 Exhibit DRA Exhibit 120
                                                 # 9 Exhibit DRA Exhibit 121
                                                 # 10 Exhibit DRA Exhibit 122
                                                 # 11 Exhibit DRA Exhibit 123
                                                 # 12 Exhibit DRA Exhibit 124
                                                 # 13 Exhibit DRA Exhibit 125
                                                 # 14 Exhibit DRA Exhibit 126) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
                                                 NAYUAN] Modified on 10/28/2021
                                                 to correct date filed (Ramirez,
   10/27/2021                                    Marian). (Entered: 10/27/2021)

                                     18776       Motion Submitting Continued
                                     (264 pgs;   Exhibits of DRA Parties: Exhibits 127
                                     14 docs)    - 139 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 127 # 2 Exhibit DRA Exhibit
                                                 128 # 3 Exhibit DRA Exhibit 129
                                                 # 4 Exhibit DRA Exhibit 130
                                                 # 5 Exhibit DRA Exhibit 131
                                                 # 6 Exhibit DRA Exhibit 132
                                                 # 7 Exhibit DRA Exhibit 133
                                                 # 8 Exhibit DRA Exhibit 134
                                                 # 9 Exhibit DRA Exhibit 135
                                                 # 10 Exhibit DRA Exhibit 136
                                                 # 11 Exhibit DRA Exhibit 137
                                                 # 12 Exhibit DRA Exhibit 138
                                                 # 13 Exhibit DRA Exhibit 139) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                       13
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 14 of 54



                                     18777       Motion Submitting Continued
                                     (244 pgs;   Exhibits of DRA Parties: Exhibits 140
                                     15 docs)    - 153 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 140 # 2 Exhibit DRA Exhibit
                                                 141 # 3 Exhibit DRA Exhibit 142
                                                 # 4 Exhibit DRA Exhibit 143
                                                 # 5 Exhibit DRA Exhibit 144
                                                 # 6 Exhibit DRA Exhibit 145
                                                 # 7 Exhibit DRA Exhibit 146
                                                 # 8 Exhibit DRA Exhibit 147
                                                 # 9 Exhibit DRA Exhibit 148
                                                 # 10 Exhibit DRA Exhibit 149
                                                 # 11 Exhibit DRA Exhibit 150
                                                 # 12 Exhibit DRA Exhibit 151
                                                 # 13 Exhibit DRA Exhibit 152
                                                 # 14 Exhibit DRA Exhibit 153) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18778       Motion Submitting Continued
                                     (244 pgs;   Exhibits of DRA Parties: Exhibits 154
                                     13 docs)    - 165 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 154 # 2 Exhibit DRA Exhibit
                                                 155 # 3 Exhibit DRA Exhibit 156
                                                 # 4 Exhibit DRA Exhibit 157
                                                 # 5 Exhibit DRA Exhibit 158
                                                 # 6 Exhibit DRA Exhibit 159
                                                 # 7 Exhibit DRA Exhibit 160
                                                 # 8 Exhibit DRA Exhibit 161
                                                 # 9 Exhibit DRA Exhibit 162
                                                 # 10 Exhibit DRA Exhibit 163
                                                 # 11 Exhibit DRA Exhibit 164
                                                 # 12 Exhibit DRA Exhibit 165) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)




                                       14
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 15 of 54



                                     18779       Motion Submitting Continued
                                     (264 pgs;   Exhibits of DRA Parties: Exhibits 166
                                     14 docs)    - 178 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 166 # 2 Exhibit DRA Exhibit
                                                 167 # 3 Exhibit DRA Exhibit 168
                                                 # 4 Exhibit DRA Exhibit 169
                                                 # 5 Exhibit DRA Exhibit 170
                                                 # 6 Exhibit DRA Exhibit 171
                                                 # 7 Exhibit DRA Exhibit 172
                                                 # 8 Exhibit DRA Exhibit 173
                                                 # 9 Exhibit DRA Exhibit 174
                                                 # 10 Exhibit DRA Exhibit 175
                                                 # 11 Exhibit DRA Exhibit 176
                                                 # 12 Exhibit DRA Exhibit 177
                                                 # 13 Exhibit DRA Exhibit 178) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18780       Motion Submitting Continued
                                     (243 pgs;   Exhibits of DRA Parties: Exhibits 179
                                     13 docs)    - 190 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 179 # 2 Exhibit DRA Exhibit
                                                 180 # 3 Exhibit DRA Exhibit 181
                                                 # 4 Exhibit DRA Exhibit 182
                                                 # 5 Exhibit DRA Exhibit 183
                                                 # 6 Exhibit DRA Exhibit 184
                                                 # 7 Exhibit DRA Exhibit 185
                                                 # 8 Exhibit DRA Exhibit 186
                                                 # 9 Exhibit DRA Exhibit 187
                                                 # 10 Exhibit DRA Exhibit 188
                                                 # 11 Exhibit DRA Exhibit 189
                                                 # 12 Exhibit DRA Exhibit 190) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18781       Motion Submitting Continued
                                     (375 pgs;   Exhibits of DRA Parties: Exhibits 191
   10/27/2021                        18 docs)    - 207 (Attachments: # 1 Exhibit DRA

                                       15
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 16 of 54



                                                 Exhibit 191 # 2 Exhibit DRA Exhibit
                                                 192 # 3 Exhibit DRA Exhibit 193
                                                 # 4 Exhibit DRA Exhibit 194
                                                 # 5 Exhibit DRA Exhibit 195
                                                 # 6 Exhibit DRA Exhibit 196
                                                 # 7 Exhibit DRA Exhibit 197
                                                 # 8 Exhibit DRA Exhibit 198
                                                 # 9 Exhibit DRA Exhibit 199
                                                 # 10 Exhibit DRA Exhibit 200
                                                 # 11 Exhibit DRA Exhibit 201
                                                 # 12 Exhibit DRA Exhibit 202
                                                 # 13 Exhibit DRA Exhibit 203
                                                 # 14 Exhibit DRA Exhibit 204
                                                 # 15 Exhibit DRA Exhibit 205
                                                 # 16 Exhibit DRA Exhibit 206
                                                 # 17 Exhibit DRA Exhibit 207) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
                                                 NAYUAN] (Entered: 10/27/2021)

                                     18782       Motion Submitting Continued
                                     (417 pgs;   Exhibits of DRA Parties: Exhibits 208
                                     18 docs)    - 224 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 208 # 2 Exhibit DRA Exhibit
                                                 209 # 3 Exhibit DRA Exhibit 210
                                                 # 4 Exhibit DRA Exhibit 211
                                                 # 5 Exhibit DRA Exhibit 212
                                                 # 6 Exhibit DRA Exhibit 213
                                                 # 7 Exhibit DRA Exhibit 214
                                                 # 8 Exhibit DRA Exhibit 215
                                                 # 9 Exhibit DRA Exhibit 216
                                                 # 10 Exhibit DRA Exhibit 217
                                                 # 11 Exhibit DRA Exhibit 218
                                                 # 12 Exhibit DRA Exhibit 219
                                                 # 13 Exhibit DRA Exhibit 220
                                                 # 14 Exhibit DRA Exhibit 221
                                                 # 15 Exhibit DRA Exhibit 222
                                                 # 16 Exhibit DRA Exhibit 223
                                                 # 17 Exhibit DRA Exhibit 224) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
   10/27/2021                                    LLC, Cantor-Katz Collateral Monitor

                                       16
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05         Desc: Main
                           Document Page 17 of 54



                                                 LLC [ZOUAIRABANI TRINIDAD,
                                                 NAYUAN] (Entered: 10/27/2021)

                                     18783       Motion Submitting Continued
                                     (69 pgs;    Exhibits of DRA Parties: Exhibits 225
                                     2 docs)     Part 1 of 4 (Attachments: # 1 Exhibit
                                                 DRA Exhibit 225 Part 1 of 4) filed by
                                                 NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18784       Motion Submitting Continued
                                     (71 pgs;    Exhibits of DRA Parties: Exhibit 225
                                     2 docs)     Part 2 of 4 (Attachments: # 1 Exhibit
                                                 DRA Exhibit 225 Part 2 of 4) filed by
                                                 NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18786       Motion Submitting Continued
                                     (73 pgs;    Exhibits of DRA Parties: Exhibit 225
                                     2 docs)     Part 3 of 4 (Attachments: # 1 Exhibit
                                                 DRA Exhibit 225 Part 3 of 4) filed by
                                                 NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18787       Motion Submitting Continued
                                     (100 pgs;   Exhibits of DRA Parties: Exhibits 225
                                     3 docs)     Part 4 of 4 226 Part 1 of 3
                                                 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 225 Part 4 of 4 # 2 Exhibit
                                                 DRA Exhibit 226 Part 1 of 3) filed by
                                                 NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
   10/27/2021                                    LLC, Cantor-Katz Collateral Monitor


                                       17
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 18 of 54



                                                 LLC [ZOUAIRABANI TRINIDAD,
                                                 NAYUAN] (Entered: 10/27/2021)

                                     18788       Motion Submitting Continued
                                     (152 pgs;   Exhibits of DRA Parties: Exhibit 226
                                     3 docs)     Parts 2 and 3 of 3 (Attachments:
                                                 # 1 Exhibit DRA Exhibit 226 Part 2
                                                 of 3 # 2 Exhibit DRA Exhibit 226
                                                 Part 3 of 3) filed by NAYUAN
                                                 ZOUAIRABANI TRINIDAD on
                                                 behalf of AmeriNational Community
                                                 Services, LLC, Cantor-Katz
                                                 Collateral Monitor LLC
                                                 [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18789       Motion Submitting Continued
                                     (429 pgs;   Exhibits of DRA Parties: Exhibits 227
                                     6 docs)     - 231 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 227 # 2 Exhibit DRA Exhibit
                                                 228 # 3 Exhibit DRA Exhibit 229
                                                 # 4 Exhibit DRA Exhibit 230
                                                 # 5 Exhibit DRA Exhibit 231) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18790       Motion Submitting Continued
                                     (424 pgs;   Exhibits of DRA Parties: Exhibits 232
                                     4 docs)     - 234 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 232 # 2 Exhibit DRA Exhibit
                                                 233 # 3 Exhibit DRA Exhibit 234)
                                                 filed by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18792       Motion Submitting Continued
                                     (274 pgs;   Exhibits of DRA Parties: Exhibit 235
                                     2 docs)     (Attachments: # 1 Exhibit DRA
   10/27/2021                                    Exhibit 235) filed by NAYUAN


                                       18
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05         Desc: Main
                           Document Page 19 of 54



                                                 ZOUAIRABANI TRINIDAD on
                                                 behalf of AmeriNational Community
                                                 Services, LLC, Cantor-Katz
                                                 Collateral Monitor LLC
                                                 [ZOUAIRABANI TRINIDAD,
                                                 NAYUAN] (Entered: 10/27/2021)

                                     18793       Motion Submitting Continued
                                     (115 pgs;   Exhibits of DRA Parties: Exhibit 236
                                     2 docs)     Part 1 of 4 (Attachments: # 1 Exhibit
                                                 DRA Exhibit 236 Part 1 of 4) filed by
                                                 NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18795       Motion Submitting Continued
                                     (99 pgs;    Exhibits of DRA Parties: Exhibit 236
                                     2 docs)     Part 2 of 4 (Attachments: # 1 Exhibit
                                                 DRA Exhibit 236 Part 2 of 4) filed by
                                                 NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18796       Motion Submitting Continued
                                     (94 pgs;    Exhibits of DRA Parties: Exhibit 236
                                     2 docs)     Part 3 of 4 (Attachments: # 1 Exhibit
                                                 DRA Exhibit 236 Part 3 of 4) filed by
                                                 NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18798       Motion Submitting Continued
                                     (510 pgs;   Exhibits of DRA Parties: Exhibits 236
                                     6 docs)     Part 4 of 4 - 240 (Attachments:
                                                 # 1 Exhibit DRA Exhibit 236 Part 4
                                                 of 4 # 2 Exhibit DRA Exhibit 237
   0/27/2021                                     # 3 Exhibit DRA Exhibit 238


                                       19
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 20 of 54



                                                 # 4 Exhibit DRA Exhibit 239
                                                 # 5 Exhibit DRA Exhibit 240) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
                                                 NAYUAN] (Entered: 10/27/2021)

                                     18799      Motion Submitting Continued
                                     (1006 pgs; Exhibits of DRA Parties: Exhibits 241
                                     4 docs)    - 243 (Attachments: # 1 Exhibit DRA
                                                Exhibit 241 # 2 Exhibit DRA Exhibit
                                                242 # 3 Exhibit DRA Exhibit 243)
                                                filed by NAYUAN ZOUAIRABANI
                                                TRINIDAD on behalf of
                                                AmeriNational Community Services,
                                                LLC, Cantor-Katz Collateral Monitor
                                                LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                   NAYUAN] (Entered: 10/27/2021)

                                     18801       Motion Submitting Continued
                                     (372 pgs;   Exhibits of DRA Parties: Exhibits 245
                                     6 docs)     - 249 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 245 # 2 Exhibit DRA Exhibit
                                                 246 # 3 Exhibit DRA Exhibit 247
                                                 # 4 Exhibit DRA Exhibit 248
                                                 # 5 Exhibit DRA Exhibit 249) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18804       Motion Submitting Continued
                                     (362 pgs;   Exhibits of DRA Parties: Exhibits 250
                                     106 docs)   - 354 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 250 # 2 Exhibit DRA Exhibit
                                                 251 # 3 Exhibit DRA Exhibit 252
                                                 # 4 Exhibit SEALED DRA Exhibit
                                                 253 # 5 Exhibit SEALED DRA
                                                 Exhibit 254 # 6 Exhibit SEALED
                                                 DRA Exhibit 255 # 7 Exhibit
                                                 SEALED DRA Exhibit 256
   10/27/2021                                    # 8 Exhibit SEALED DRA Exhibit

                                       20
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05   Desc: Main
                           Document Page 21 of 54



                                               257 # 9 Exhibit SEALED DRA
                                               Exhibit 258 # 10 Exhibit SEALED
                                               DRA Exhibit 259 # 11 Exhibit
                                               SEALED DRA Exhibit 260
                                               # 12 Exhibit SEALED DRA Exhibit
                                               261 # 13 Exhibit SEALED DRA
                                               Exhibit 262 # 14 Exhibit SEALED
                                               DRA Exhibit 263 # 15 Exhibit
                                               SEALED DRA Exhibit 264
                                               # 16 Exhibit SEALED DRA Exhibit
                                               265 # 17 Exhibit SEALED DRA
                                               Exhibit 266 # 18 Exhibit SEALED
                                               DRA Exhibit 267 # 19 Exhibit
                                               SEALED DRA Exhibit 268
                                               # 20 Exhibit SEALED DRA Exhibit
                                               269 # 21 Exhibit SEALED DRA
                                               Exhibit 270 # 22 Exhibit SEALED
                                               DRA Exhibit 271 # 23 Exhibit
                                               SEALED DRA Exhibit 272
                                               # 24 Exhibit SEALED DRA Exhibit
                                               273 # 25 Exhibit SEALED DRA
                                               Exhibit 274 # 26 Exhibit SEALED
                                               DRA Exhibit 275 # 27 Exhibit
                                               SEALED DRA Exhibit 276
                                               # 28 Exhibit SEALED DRA Exhibit
                                               277 # 29 Exhibit SEALED DRA
                                               Exhibit 278 # 30 Exhibit SEALED
                                               DRA Exhibit 279 # 31 Exhibit
                                               SEALED DRA Exhibit 280
                                               # 32 Exhibit SEALED DRA Exhibit
                                               281 # 33 Exhibit SEALED DRA
                                               Exhibit 282 # 34 Exhibit SEALED
                                               DRA Exhibit 283 # 35 Exhibit
                                               SEALED DRA Exhibit 284
                                               # 36 Exhibit SEALED DRA Exhibit
                                               285 # 37 Exhibit SEALED DRA
                                               Exhibit 286 # 38 Exhibit SEALED
                                               DRA Exhibit 287 # 39 Exhibit
                                               SEALED DRA Exhibit 288
                                               # 40 Exhibit SEALED DRA Exhibit
                                               289 # 41 Exhibit SEALED DRA
                                               Exhibit 290 # 42 Exhibit SEALED
                                               DRA Exhibit 291 # 43 Exhibit
                                               SEALED DRA Exhibit 292
                                               # 44 Exhibit SEALED DRA Exhibit
                                               293 # 45 Exhibit SEALED DRA

                                       21
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05   Desc: Main
                           Document Page 22 of 54



                                               Exhibit 294 # 46 Exhibit SEALED
                                               DRA Exhibit 295 # 47 Exhibit
                                               SEALED DRA Exhibit 296
                                               # 48 Exhibit SEALED DRA Exhibit
                                               297 # 49 Exhibit SEALED DRA
                                               Exhibit 298 # 50 Exhibit SEALED
                                               DRA Exhibit 299 # 51 Exhibit
                                               SEALED DRA Exhibit 300
                                               # 52 Exhibit SEALED DRA Exhibit
                                               301 # 53 Exhibit SEALED DRA
                                               Exhibit 302 # 54 Exhibit SEALED
                                               DRA Exhibit 303 # 55 Exhibit
                                               SEALED DRA Exhibit 304
                                               # 56 Exhibit SEALED DRA Exhibit
                                               305 # 57 Exhibit SEALED DRA
                                               Exhibit 306 # 58 Exhibit SEALED
                                               DRA Exhibit 307 # 59 Exhibit
                                               SEALED DRA Exhibit 308
                                               # 60 Exhibit SEALED DRA Exhibit
                                               309 # 61 Exhibit SEALED DRA
                                               Exhibit 310 # 62 Exhibit SEALED
                                               DRA Exhibit 311 # 63 Exhibit
                                               SEALED DRA Exhibit 312
                                               # 64 Exhibit SEALED DRA Exhibit
                                               313 # 65 Exhibit SEALED DRA
                                               Exhibit 314 # 66 Exhibit SEALED
                                               DRA Exhibit 315 # 67 Exhibit
                                               SEALED DRA Exhibit 316
                                               # 68 Exhibit SEALED DRA Exhibit
                                               317 # 69 Exhibit SEALED DRA
                                               Exhibit 318 # 70 Exhibit SEALED
                                               DRA Exhibit 319 # 71 Exhibit
                                               SEALED DRA Exhibit 320
                                               # 72 Exhibit SEALED DRA Exhibit
                                               321 # 73 Exhibit SEALED DRA
                                               Exhibit 322 # 74 Exhibit SEALED
                                               DRA Exhibit 323 # 75 Exhibit
                                               SEALED DRA Exhibit 324
                                               # 76 Exhibit SEALED DRA Exhibit
                                               325 # 77 Exhibit SEALED DRA
                                               Exhibit 326 # 78 Exhibit SEALED
                                               DRA Exhibit 327 # 79 Exhibit
                                               SEALED DRA Exhibit 328
                                               # 80 Exhibit SEALED DRA Exhibit
                                               329 # 81 Exhibit SEALED DRA
                                               Exhibit 330 # 82 Exhibit SEALED

                                       22
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 23 of 54



                                                 DRA Exhibit 331 # 83 Exhibit
                                                 SEALED DRA Exhibit 332
                                                 # 84 Exhibit SEALED DRA Exhibit
                                                 333 # 85 Exhibit SEALED DRA
                                                 Exhibit 334 # 86 Exhibit SEALED
                                                 DRA Exhibit 335 # 87 Exhibit
                                                 SEALED DRA Exhibit 336
                                                 # 88 Exhibit SEALED DRA Exhibit
                                                 337 # 89 Exhibit SEALED DRA
                                                 Exhibit 338 # 90 Exhibit SEALED
                                                 DRA Exhibit 339 # 91 Exhibit
                                                 SEALED DRA Exhibit 340
                                                 # 92 Exhibit SEALED DRA Exhibit
                                                 341 # 93 Exhibit SEALED DRA
                                                 Exhibit 342 # 94 Exhibit SEALED
                                                 DRA Exhibit 343 # 95 Exhibit
                                                 SEALED DRA Exhibit 344
                                                 # 96 Exhibit SEALED DRA Exhibit
                                                 345 # 97 Exhibit SEALED DRA
                                                 Exhibit 346 # 98 Exhibit SEALED
                                                 DRA Exhibit 347 # 99 Exhibit
                                                 SEALED DRA Exhibit 348
                                                 # 100 Exhibit SEALED DRA Exhibit
                                                 349 # 101 Exhibit SEALED DRA
                                                 Exhibit 350 # 102 Exhibit SEALED
                                                 DRA Exhibit 351 # 103 Exhibit
                                                 SEALED DRA Exhibit 352
                                                 # 104 Exhibit SEALED DRA Exhibit
                                                 353 # 105 Exhibit SEALED DRA
                                                 Exhibit 354) filed by NAYUAN
                                                 ZOUAIRABANI TRINIDAD on
                                                 behalf of AmeriNational Community
                                                 Services, LLC, Cantor-Katz
                                                 Collateral Monitor LLC
                                                 [ZOUAIRABANI TRINIDAD,
                                                 NAYUAN] (Entered: 10/27/2021)

                                     18808       Motion Submitting Continued
                                     (302 pgs;   Exhibits of DRA Parties: Exhibits 355
                                     69 docs)    - 422 (Attachments: # 1 Exhibit
                                                 SEALED DRA Exhibit 355
                                                 # 2 Exhibit SEALED DRA Exhibit
                                                 356 # 3 Exhibit SEALED DRA
                                                 Exhibit 357 # 4 Exhibit SEALED
                                                 DRA Exhibit 358 # 5 Exhibit
   10/27/2021                                    SEALED DRA Exhibit 359

                                       23
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05   Desc: Main
                           Document Page 24 of 54



                                               # 6 Exhibit SEALED DRA Exhibit
                                               360 # 7 Exhibit SEALED DRA
                                               Exhibit 361 # 8 Exhibit SEALED
                                               DRA Exhibit 362 # 9 Exhibit
                                               SEALED DRA Exhibit 363
                                               # 10 Exhibit SEALED DRA Exhibit
                                               364 # 11 Exhibit SEALED DRA
                                               Exhibit 365 # 12 Exhibit SEALED
                                               DRA Exhibit 366 # 13 Exhibit
                                               SEALED DRA Exhibit 367
                                               # 14 Exhibit SEALED DRA Exhibit
                                               368 # 15 Exhibit SEALED DRA
                                               Exhibit 369 # 16 Exhibit SEALED
                                               DRA Exhibit 370 # 17 Exhibit
                                               SEALED DRA Exhibit 371
                                               # 18 Exhibit SEALED DRA Exhibit
                                               372 # 19 Exhibit SEALED DRA
                                               Exhibit 373 # 20 Exhibit SEALED
                                               DRA Exhibit 374 # 21 Exhibit
                                               SEALED DRA Exhibit 375
                                               # 22 Exhibit SEALED DRA Exhibit
                                               376 # 23 Exhibit SEALED DRA
                                               Exhibit 377 # 24 Exhibit SEALED
                                               DRA Exhibit 378 # 25 Exhibit
                                               SEALED DRA Exhibit 379
                                               # 26 Exhibit SEALED DRA Exhibit
                                               380 # 27 Exhibit SEALED DRA
                                               Exhibit 381 # 28 Index SEALED
                                               DRA Exhibit 382 # 29 Exhibit
                                               SEALED DRA Exhibit 383
                                               # 30 Exhibit SEALED DRA Exhibit
                                               384 # 31 Exhibit SEALED DRA
                                               Exhibit 385 # 32 Exhibit SEALED
                                               DRA Exhibit 386 # 33 Exhibit
                                               SEALED DRA Exhibit 387
                                               # 34 Exhibit SEALED DRA Exhibit
                                               388 # 35 Exhibit SEALED DRA
                                               Exhibit 389 # 36 Exhibit SEALED
                                               DRA Exhibit 390 # 37 Exhibit
                                               SEALED DRA Exhibit 391
                                               # 38 Exhibit SEALED DRA Exhibit
                                               392 # 39 Exhibit SEALED DRA
                                               Exhibit 393 # 40 Exhibit SEALED
                                               DRA Exhibit 394 # 41 Exhibit
                                               SEALED DRA Exhibit 395
                                               # 42 Exhibit SEALED DRA Exhibit

                                       24
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 25 of 54



                                                 396 # 43 Exhibit SEALED DRA
                                                 Exhibit 397 # 44 Exhibit SEALED
                                                 DRA Exhibit 398 # 45 Exhibit
                                                 SEALED DRA Exhibit 399
                                                 # 46 Exhibit SEALED DRA Exhibit
                                                 400 # 47 Exhibit SEALED DRA
                                                 Exhibit 401 # 48 Exhibit SEALED
                                                 DRA Exhibit 402 # 49 Exhibit
                                                 SEALED DRA Exhibit 403
                                                 # 50 Exhibit SEALED DRA Exhibit
                                                 404 # 51 Exhibit SEALED DRA
                                                 Exhibit 405 # 52 Exhibit SEALED
                                                 DRA Exhibit 406 # 53 Exhibit
                                                 SEALED DRA Exhibit 407
                                                 # 54 Exhibit SEALED DRA Exhibit
                                                 408 # 55 Exhibit SEALED DRA
                                                 Exhibit 409 # 56 Exhibit SEALED
                                                 DRA Exhibit 410 # 57 Exhibit
                                                 SEALED DRA Exhibit 411
                                                 # 58 Exhibit SEALED DRA Exhibit
                                                 412 # 59 Exhibit SEALED DRA
                                                 Exhibit 413 # 60 Exhibit SEALED
                                                 DRA Exhibit 414 # 61 Exhibit DRA
                                                 Exhibit 415 # 62 Exhibit DRA
                                                 Exhibit 416 # 63 Exhibit DRA
                                                 Exhibit 417 # 64 Exhibit DRA
                                                 Exhibit 418 # 65 Exhibit DRA
                                                 Exhibit 419 # 66 Exhibit DRA
                                                 Exhibit 420 # 67 Exhibit DRA
                                                 Exhibit 421 # 68 Exhibit DRA
                                                 Exhibit 422) filed by NAYUAN
                                                 ZOUAIRABANI TRINIDAD on
                                                 behalf of AmeriNational Community
                                                 Services, LLC, Cantor-Katz
                                                 Collateral Monitor LLC
                                                 [ZOUAIRABANI TRINIDAD,
                                                 NAYUAN] (Entered: 10/27/2021)

                                     18809       Motion Submitting Continued
                                     (491 pgs;   Exhibits of DRA Parties: Exhibits 423
                                     8 docs)     - 429 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 423 # 2 Exhibit DRA Exhibit
                                                 424 # 3 Exhibit DRA Exhibit 425
                                                 # 4 Exhibit DRA Exhibit 426
                                                 # 5 Exhibit DRA Exhibit 427
   10/27/2021                                    # 6 Exhibit DRA Exhibit 428

                                       25
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 26 of 54



                                                 # 7 Exhibit DRA Exhibit 429) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
                                                 NAYUAN] (Entered: 10/27/2021)

                                     18810       Motion Submitting Continued
                                     (295 pgs;   Exhibits of DRA Parties: Exhibits 430
                                     11 docs)    - 439 (Attachments: # 1 Exhibit DRA
                                                 Exhibit 430 # 2 Exhibit DRA Exhibit
                                                 431 # 3 Exhibit DRA Exhibit 432
                                                 # 4 Exhibit DRA Exhibit 433
                                                 # 5 Exhibit DRA Exhibit 434
                                                 # 6 Exhibit DRA Exhibit 435
                                                 # 7 Exhibit DRA Exhibit 436
                                                 # 8 Exhibit DRA Exhibit 437
                                                 # 9 Exhibit DRA Exhibit 438
                                                 # 10 Exhibit DRA Exhibit 439) filed
                                                 by NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18836       MOTION to inform The DRA Parties
                                     (49 pgs;    Pretrial Informative Motion
                                     4 docs)     Re: 18502 Order (Attachments:
                                                 # 1 Exhibit A - Attorney Appearances
                                                 List # 2 Exhibit B - DRA Parties
                                                 Witness List # 3 Exhibit C - DRA
                                                 Parties Exhibit List) filed by
                                                 NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   10/27/2021                                    NAYUAN] (Entered: 10/27/2021)

                                     18889      MOTION The DRA Parties Motion in
                                     (1894 pgs; Compliance with Order Directing
                                     25 docs)   Unsealing of DRA parties (I)
                                                Objection to the Seventh Amended
   10/28/2021                                   Title III Joint Plan of Adjustment of

                                       26
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 27 of 54



                                               the Commonwealth of Puerto Rico, et
                                               al. and (II) Expert Reports in Support
                                               re:18834 Order (Attachments:
                                               # 1 Unsealed Plan Objection
                                               # 2 Exhibit A # 3 Exhibit B
                                               # 4 Exhibit C # 5 Exhibit D
                                               # 6 Exhibit E # 7 Exhibit F
                                               # 8 Exhibit G # 9 Exhibit H
                                               # 10 Exhibit I # 11 Exhibit J
                                               # 12 Exhibit K # 13 Exhibit L
                                               # 14 Exhibit M # 15 Exhibit N
                                               # 16 Exhibit O # 17 Exhibit P
                                               # 18 Exhibit Q # 19 Exhibit R
                                               # 20 Exhibit S # 21 Exhibit T
                                               # 22 Exhibit U # 23 Exhibit V
                                               # 24 Exhibit W) filed by NAYUAN
                                               ZOUAIRABANI TRINIDAD on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC
                                               [ZOUAIRABANI TRINIDAD,
                                               NAYUAN] (Entered: 10/28/2021)

                                     18906     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 253 To 266 Re:18862 Order
                                               on Urgent Motion to Seal Document
                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 253 # 2 Exhibit DRA Exhibit
                                               254 # 3 Exhibit DRA Exhibit 255
                                               # 4 Exhibit DRA Exhibit 256
                                               # 5 Exhibit DRA Exhibit 257
                                               # 6 Exhibit DRA Exhibit 258
                                               # 7 Exhibit DRA Exhibit 259
                                               # 8 Exhibit DRA Exhibit 260
                                               # 9 Exhibit DRA Exhibit 261
                                               # 10 Exhibit DRA Exhibit 262
                                               # 11 Exhibit DRA Exhibit 263
                                               # 12 Exhibit DRA Exhibit 264
                                               # 13 Exhibit DRA Exhibit 265
                                               # 14 Exhibit DRA Exhibit 266) filed
                                               by NAYUAN ZOUAIRABANI
                                               TRINIDAD on behalf of
                                               AmeriNational Community Services,
   10/29/2021                                  LLC, Cantor-Katz Collateral Monitor

                                       27
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05     Desc: Main
                           Document Page 28 of 54



                                               LLC [ZOUAIRABANI TRINIDAD,
                                               NAYUAN] (Entered: 10/29/2021)

                                     18907     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 267 Part 1 of
                                               2 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 267 Part 1
                                               of 2) filed by NAYUAN
                                               ZOUAIRABANI TRINIDAD on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC
                                               [ZOUAIRABANI TRINIDAD,
   10/29/2021                                  NAYUAN] (Entered: 10/29/2021)

                                     18908     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 267 Part 2 of
                                               2 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 267 Part 2
                                               of 2) filed by NAYUAN
                                               ZOUAIRABANI TRINIDAD on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC
                                               [ZOUAIRABANI TRINIDAD,
   10/29/2021                                  NAYUAN] (Entered: 10/29/2021)

                                     18909     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 268 Part 1 of
                                               3 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 268 Part 1
                                               of 3) filed by NAYUAN
                                               ZOUAIRABANI TRINIDAD on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
   10/29/2021                                  Collateral Monitor LLC



                                       28
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 29 of 54



                                               [ZOUAIRABANI TRINIDAD,
                                               NAYUAN] (Entered: 10/29/2021)

                                     18910     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 268 Part 2 of
                                               3 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 268 Part 2
                                               of 3) filed by NAYUAN
                                               ZOUAIRABANI TRINIDAD on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC
                                               [ZOUAIRABANI TRINIDAD,
   10/29/2021                                  NAYUAN] (Entered: 10/29/2021)

                                     18911     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 268 Part 3 of 3 to 269 Part 1
                                               of 24 Re:18862 Order on Urgent
                                               Motion to Seal Document
                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 268 Part 3 of 3 # 2 Exhibit
                                               DRA Exhibit 269 Part 1 of 24) filed
                                               by NAYUAN ZOUAIRABANI
                                               TRINIDAD on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [ZOUAIRABANI TRINIDAD,
   10/29/2021                                  NAYUAN] (Entered: 10/29/2021)

                                     18912     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 2 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 269 Part 2
                                               of 24) filed by NAYUAN
                                               ZOUAIRABANI TRINIDAD on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
   10/29/2021                                  Collateral Monitor LLC

                                       29
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05      Desc: Main
                           Document Page 30 of 54



                                               [ZOUAIRABANI TRINIDAD,
                                               NAYUAN] (Entered: 10/29/2021)

                                     18913     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 292 to 298 Re:18862 Order
                                               on Urgent Motion to Seal Document
                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 292 # 2 Exhibit DRA Exhibit
                                               293 # 3 Exhibit DRA Exhibit 294
                                               # 4 Exhibit DRA Exhibit 295
                                               # 5 Exhibit DRA Exhibit 296
                                               # 6 Exhibit DRA Exhibit 297
                                               # 7 Exhibit DRA Exhibit 298) filed
                                               by CARMEN D CONDE TORRES
                                               on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC
                                               [CONDE TORRES, CARMEN]
   10/29/2021                                  (Entered: 10/29/2021)

                                     18914     Sealed Motion /The DRA Parties'
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 346 Part 3 of
                                               3 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 346 Part 3
                                               of 3) filed by LUISA S VALLE
                                               CASTRO on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC
                                               [VALLE CASTRO, LUISA]
   10/29/2021                                  (Entered: 10/29/2021)

                                     18916     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 299 to 315 Re:18862 Order
                                               on Urgent Motion to Seal Document
                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 299 # 2 Exhibit DRA Exhibit
                                               300 # 3 Exhibit DRA Exhibit 301
                                               # 4 Exhibit DRA Exhibit 302
   10/29/2021                                  # 5 Exhibit DRA Exhibit 303

                                       30
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05      Desc: Main
                           Document Page 31 of 54



                                               # 6 Exhibit DRA Exhibit 304
                                               # 7 Exhibit DRA Exhibit 305
                                               # 8 Exhibit DRA Exhibit 306
                                               # 9 Exhibit DRA Exhibit 307
                                               # 10 Exhibit DRA Exhibit 308
                                               # 11 Exhibit DRA Exhibit 309
                                               # 12 Exhibit DRA Exhibit 310
                                               # 13 Exhibit DRA Exhibit 311
                                               # 14 Exhibit DRA Exhibit 312
                                               # 15 Exhibit DRA Exhibit 313
                                               # 16 Exhibit DRA Exhibit 314
                                               # 17 Exhibit DRA Exhibit 315) filed
                                               by CARMEN D CONDE TORRES
                                               on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC
                                               [CONDE TORRES, CARMEN]
                                               (Entered: 10/29/2021)

                                     18917     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 348 Parts 1 and 2 of
                                               7 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 348 Part 1
                                               of 7 # 2 Exhibit DRA Exhibit 348
                                               Part 2 of 7) filed by NAYUAN
                                               ZOUAIRABANI TRINIDAD on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC
                                               [ZOUAIRABANI TRINIDAD,
   10/29/2021                                  NAYUAN] (Entered: 10/29/2021)

                                     18918     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 348 Parts 3 and 4 of
                                               7 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 348 Part 3
                                               of 7 # 2 Exhibit DRA Exhibit 348
                                               Part 4 of 7) filed by NAYUAN
                                               ZOUAIRABANI TRINIDAD on
   10/29/2021                                  behalf of AmeriNational Community

                                       31
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05      Desc: Main
                           Document Page 32 of 54



                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC
                                               [ZOUAIRABANI TRINIDAD,
                                               NAYUAN] (Entered: 10/29/2021)

                                     18919     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 348 Parts 5 to 7 of
                                               7 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 348 Part 5
                                               of 7 # 2 Exhibit DRA Exhibit 348
                                               Part 6 of 7 # 3 Exhibit DRA Exhibit
                                               348 Part 7 of 7) filed by NAYUAN
                                               ZOUAIRABANI TRINIDAD on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC
                                               [ZOUAIRABANI TRINIDAD,
   10/29/2021                                  NAYUAN] (Entered: 10/29/2021)

                                     18920     Sealed Motion /The DRA Parties'
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 347 Part 1 of
                                               5 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 347 Part 1
                                               of 5) filed by LUISA S VALLE
                                               CASTRO on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC
                                               [VALLE CASTRO, LUISA]
   10/29/2021                                  (Entered: 10/29/2021)

                                     18921     Sealed Motion / The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 347 Part 2 of
                                               5 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 347 Part 2
                                               of 5) filed by LUISA S VALLE
                                               CASTRO on behalf of AmeriNational
   10/29/2021                                  Community Services, LLC, Cantor-

                                       32
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 33 of 54



                                               Katz Collateral Monitor LLC
                                               [VALLE CASTRO, LUISA]
                                               (Entered: 10/29/2021)

                                     18922     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 316 to 341 Re:18862 Order
                                               on Urgent Motion to Seal Document
                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 316 # 2 Exhibit DRA Exhibit
                                               317 # 3 Exhibit DRA Exhibit 318
                                               # 4 Exhibit DRA Exhibit 319
                                               # 5 Exhibit DRA Exhibit 320
                                               # 6 Exhibit DRA Exhibit 321
                                               # 7 Exhibit DRA Exhibit 322
                                               # 8 Exhibit DRA Exhibit 323
                                               # 9 Exhibit DRA Exhibit 324
                                               # 10 Exhibit DRA Exhibit 325
                                               # 11 Exhibit DRA Exhibit 326
                                               # 12 Exhibit DRA Exhibit 327
                                               # 13 Exhibit DRA Exhibit 328
                                               # 14 Exhibit DRA Exhibit 329
                                               # 15 Exhibit DRA Exhibit 330
                                               # 16 Exhibit DRA Exhibit 331
                                               # 17 Exhibit DRA Exhibit 332
                                               # 18 Exhibit DRA Exhibit 333
                                               # 19 Exhibit DRA Exhibit 334
                                               # 20 Exhibit DRA Exhibit 335
                                               # 21 Exhibit DRA Exhibit 336
                                               # 22 Exhibit DRA Exhibit 337
                                               # 23 Exhibit DRA Exhibit 338
                                               # 24 Exhibit DRA Exhibit 339
                                               # 25 Exhibit DRA Exhibit 340
                                               # 26 Exhibit DRA Exhibit 341) filed
                                               by CARMEN D CONDE TORRES
                                               on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC
                                               [CONDE TORRES, CARMEN]
   10/29/2021                                  (Entered: 10/29/2021)

                                     18923     Sealed Motion / The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
   10/29/2021                                  Exhibit 347 Part 3 of

                                       33
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05      Desc: Main
                           Document Page 34 of 54



                                               5 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 347 Part 3
                                               of 5) filed by LUISA S VALLE
                                               CASTRO on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC
                                               [VALLE CASTRO, LUISA]
                                               (Entered: 10/29/2021)

                                     18924     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 342 to 345 Re:18862 Order
                                               on Urgent Motion to Seal Document
                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 342 # 2 Exhibit DRA Exhibit
                                               343 # 3 Exhibit DRA Exhibit 344
                                               # 4 Exhibit DRA Exhibit 345) filed
                                               by CARMEN D CONDE TORRES
                                               on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC
                                               [CONDE TORRES, CARMEN]
   10/29/2021                                  (Entered: 10/29/2021)

                                     18925     Sealed Motion /The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 347 Part 4 of
                                               5 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 347 Part 4
                                               of 5) filed by LUISA S VALLE
                                               CASTRO on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC
                                               [VALLE CASTRO, LUISA]
   10/29/2021                                  (Entered: 10/29/2021)

                                     18926     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 346 Part 1 of
                                               3 Re:18862 Order on Urgent Motion
   10/29/2021                                  to Seal Document (Attachments:

                                       34
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05     Desc: Main
                           Document Page 35 of 54



                                               # 1 Exhibit DRA Exhibit 346 Part 1
                                               of 3) filed by CARMEN D CONDE
                                               TORRES on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC
                                               [CONDE TORRES, CARMEN]
                                               (Entered: 10/29/2021)

                                     18927     Sealed Motion /The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 347 Part 5 of
                                               5 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 347 Part 5
                                               of 5) filed by LUISA S VALLE
                                               CASTRO on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC
                                               [VALLE CASTRO, LUISA]
   10/29/2021                                  (Entered: 10/29/2021)

                                     18928     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 346 Part 2 of
                                               3 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 346 Part 2
                                               of 3) filed by CARMEN D CONDE
                                               TORRES on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC
                                               [CONDE TORRES, CARMEN]
   10/29/2021                                  (Entered: 10/29/2021)

                                     18929     Sealed Motion The DRA Parties'
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 10 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA EXhibit 269 Part 10
                                               of 24) filed by ALEJANDRO J
                                               CEPEDA DIAZ on behalf of
   10/29/2021                                  AmeriNational Community Services,

                                       35
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 36 of 54



                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [CEPEDA DIAZ,
                                               ALEJANDRO] (Entered: 10/29/2021)

                                     18930     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 271 to 276 Re:18862 Order
                                               on Urgent Motion to Seal Document
                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 271 # 2 Exhibit DRA Exhibit
                                               272 # 3 Exhibit DRA Exhibit 273
                                               # 4 Exhibit DRA Exhibit 274
                                               # 5 Exhibit DRA Exhibit 275
                                               # 6 Exhibit DRA Exhibit 276) filed
                                               by Carmen M. Alfonso-Rodriguez on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC [Alfonso-
                                               Rodriguez, Carmen] (Entered:
   10/29/2021                                  10/29/2021)

                                     18931     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 16 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit Exhibit 269 Part 16 of 24)
                                               filed by Leany Prieto-Rodriguez on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC [Prieto-
                                               Rodriguez, Leany] (Entered:
   10/29/2021                                  10/29/2021)

                                     18932     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 22 Of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 269 Part 22
                                               of 24) filed by Gabriela A. Perez-
                                               Velez on behalf of AmeriNational
   10/29/2021                                  Community Services, LLC, Cantor-

                                       36
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05      Desc: Main
                           Document Page 37 of 54



                                               Katz Collateral Monitor LLC [Perez-
                                               Velez, Gabriela] (Entered:
                                               10/29/2021)

                                     18933     Sealed Motion The DRA Parties'
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 11 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA EXhibit 269 Part 11
                                               of 24) filed by ALEJANDRO J
                                               CEPEDA DIAZ on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [CEPEDA DIAZ,
   10/29/2021                                  ALEJANDRO] (Entered: 10/29/2021)

                                     18934     Sealed Motion The DRA Parties'
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 12 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA EXhibit 269 Part 12
                                               of 24) filed by ALEJANDRO J
                                               CEPEDA DIAZ on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [CEPEDA DIAZ,
   10/29/2021                                  ALEJANDRO] (Entered: 10/29/2021)

                                     18936     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 277 To 282 Re:18862 Order
                                               on Urgent Motion to Seal Document
                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 277 # 2 Exhibit DRA Exhibit
                                               278 # 3 Exhibit DRA Exhibit 279
                                               # 4 Exhibit DRA Exhibit 280
                                               # 5 Exhibit DRA Exhibit 281
                                               # 6 Exhibit DRA Exhibit 282) filed
                                               by Carmen M. Alfonso-Rodriguez on
                                               behalf of AmeriNational Community
   10/29/2021                                  Services, LLC, Cantor-Katz

                                       37
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05     Desc: Main
                           Document Page 38 of 54



                                               Collateral Monitor LLC [Alfonso-
                                               Rodriguez, Carmen] (Entered:
                                               10/29/2021)

                                     18937     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 17 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 269 Part 17
                                               of 24) filed by Leany Prieto-
                                               Rodriguez on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [Prieto-Rodriguez, Leany]
   10/29/2021                                  (Entered: 10/29/2021)

                                     18938     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 23 Of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 269 Part 23
                                               of 24) filed by Gabriela A. Perez-
                                               Velez on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC [Perez-
                                               Velez, Gabriela] (Entered:
   10/29/2021                                  10/29/2021)

                                     18939     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 18 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 269 Part 18
                                               of 24) filed by Leany Prieto-
                                               Rodriguez on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [Prieto-Rodriguez, Leany]
   10/29/2021                                  (Entered: 10/29/2021)



                                       38
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05      Desc: Main
                           Document Page 39 of 54



                                     18940     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 19 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 269 Part 19
                                               of 24) filed by Leany Prieto-
                                               Rodriguez on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [Prieto-Rodriguez, Leany]
   10/29/2021                                  (Entered: 10/29/2021)

                                     18941     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 283 to 284 Re:18862 Order
                                               on Urgent Motion to Seal Document
                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 283 # 2 Exhibit DRA Exhibit
                                               284) filed by Carmen M. Alfonso-
                                               Rodriguez on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [Alfonso-Rodriguez, Carmen]
   10/29/2021                                  (Entered: 10/29/2021)

                                     18942     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 20 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 269 Part 20
                                               of 24) filed by Leany Prieto-
                                               Rodriguez on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [Prieto-Rodriguez, Leany]
   10/29/2021                                  (Entered: 10/29/2021)

                                     18943     Sealed Motion The DRA Parties'
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
   10/29/2021                                  Exhibit 269 Part 13 of

                                       39
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05     Desc: Main
                           Document Page 40 of 54



                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA EXhibit 269 Part 13
                                               of 24) filed by ALEJANDRO J
                                               CEPEDA DIAZ on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [CEPEDA DIAZ,
                                               ALEJANDRO] (Entered: 10/29/2021)

                                     18944     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 24 Of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 269 Part 24
                                               of 24) filed by Gabriela A. Perez-
                                               Velez on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC [Perez-
                                               Velez, Gabriela] (Entered:
   10/29/2021                                  10/29/2021)

                                     18945     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 21 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 269 Part 21
                                               of 24) filed by Leany Prieto-
                                               Rodriguez on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [Prieto-Rodriguez, Leany]
   10/29/2021                                  (Entered: 10/29/2021)

                                     18946     Sealed Motion The DRA Parties'
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 14 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA EXhibit 269 Part 14
   10/29/2021                                  of 24) filed by ALEJANDRO J

                                       40
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05       Desc: Main
                           Document Page 41 of 54



                                               CEPEDA DIAZ on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [CEPEDA DIAZ,
                                               ALEJANDRO] (Entered: 10/29/2021)

                                     18947     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 270 Part 1 of
                                               3 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 270 Part 1
                                               of 3) filed by Gabriela A. Perez-Velez
                                               on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC [Perez-
                                               Velez, Gabriela] (Entered:
   10/29/2021                                  10/29/2021)

                                     18948     Sealed Motion The DRA Parties'
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 15 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA EXhibit 269 Part 15
                                               of 24) filed by ALEJANDRO J
                                               CEPEDA DIAZ on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [CEPEDA DIAZ,
   10/29/2021                                  ALEJANDRO] (Entered: 10/29/2021)

                                     18949     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 270 Part 2 of
                                               3 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 270 Part 2
                                               of 3) filed by Gabriela A. Perez-Velez
                                               on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
   10/29/2021                                  Katz Collateral Monitor LLC [Perez-



                                       41
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05       Desc: Main
                           Document Page 42 of 54



                                               Velez, Gabriela] (Entered:
                                               10/29/2021)

                                     18950     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibit Under Seal:
                                               Exhibit 285 Re:18862 Order on
                                               Urgent Motion to Seal Document
                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 285) filed by Carmen M.
                                               Alfonso-Rodriguez on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [Alfonso-Rodriguez, Carmen]
   10/29/2021                                  (Entered: 10/29/2021)

                                     18951     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 270 Part 3 of
                                               3 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 270 Part 3
                                               of 3) filed by Gabriela A. Perez-Velez
                                               on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC [Perez-
                                               Velez, Gabriela] (Entered:
   10/29/2021                                  10/29/2021)

                                     18952     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 286 To 287 Re:18862 Order
                                               on Urgent Motion to Seal Document
                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 286 # 2 Exhibit DRA Exhibit
                                               287, Part 1 of 2 # 3 Exhibit DRA
                                               Exhibit 287 Part 2 of 2) filed by
                                               Carmen M. Alfonso-Rodriguez on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC [Alfonso-
                                               Rodriguez, Carmen] (Entered:
   10/29/2021                                  10/29/2021)



                                       42
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05       Desc: Main
                           Document Page 43 of 54



                                     18953     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 288 To 291 Re:18862 Order
                                               on Urgent Motion to Seal Document
                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 288 # 2 Exhibit DRA Exhibit
                                               289 # 3 Exhibit DRA Exhibit 290
                                               # 4 Exhibit DRA Exhibit 291) filed
                                               by Carmen M. Alfonso-Rodriguez on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC [Alfonso-
                                               Rodriguez, Carmen] (Entered:
   10/29/2021                                  10/29/2021)

                                     18954     Notice of Appearance and Request for
                                     (3 pgs)   Notice filed by Isabel Torres-Sastre
                                               on behalf of AmeriNational
                                               Community Services, LLC [Torres-
   10/29/2021                                  Sastre, Isabel] (Entered: 10/29/2021)

                                     18957     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits under Seal:
                                               Exhibits 361 to 369 Re:18862 Order
                                               on Urgent Motion to Seal Document
                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 361 # 2 Exhibit DRA Exhibit
                                               362 # 3 Exhibit DRA Exhibit 363
                                               # 4 Exhibit DRA Exhibit 364
                                               # 5 Exhibit DRA Exhibit 365
                                               # 6 Exhibit DRA Exhibit 366
                                               # 7 Exhibit Exhibit 367 # 8 Exhibit
                                               Exhibit 368 # 9 Exhibit DRA Exhibit
                                               369) filed by Isabel Torres-Sastre on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC [Torres-
   10/29/2021                                  Sastre, Isabel] (Entered: 10/29/2021)

                                     18962     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 370 to 410 Re:18862 Order
   10/29/2021                                  on Urgent Motion to Seal Document

                                       43
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05       Desc: Main
                           Document Page 44 of 54



                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 370 # 2 Exhibit DRA Exhibit
                                               371 # 3 Exhibit DRA Exhibit 372
                                               # 4 Exhibit DRA Exhibit 373
                                               # 5 Exhibit DRA Exhibit 374
                                               # 6 Exhibit DRA Exhibit 375
                                               # 7 Exhibit DRA Exhibit 376
                                               # 8 Exhibit DRA Exhibit 377
                                               # 9 Exhibit DRA Exhibit 378
                                               # 10 Exhibit DRA Exhibit 379
                                               # 11 Exhibit DRA Exhibit 380
                                               # 12 Exhibit DRA Exhibit 381
                                               # 13 Exhibit DRA Exhibit 382
                                               # 14 Exhibit DRA Exhibit 383
                                               # 15 Exhibit DRA Exhibit 384
                                               # 16 Exhibit DRA Exhibit 385
                                               # 17 Exhibit DRA Exhibit 386
                                               # 18 Exhibit DRA Exhibit 387
                                               # 19 Exhibit DRA Exhibit 388
                                               # 20 Exhibit DRA Exhibit 389
                                               # 21 Exhibit DRA Exhibit 390
                                               # 22 Exhibit DRA Exhibit 391
                                               # 23 Exhibit DRA Exhibit 392
                                               # 24 Exhibit DRA Exhibit 393
                                               # 25 Exhibit DRA Exhibit 394
                                               # 26 Exhibit 395 # 27 Exhibit DRA
                                               Exhibit 396 # 28 Exhibit DRA
                                               Exhibit 397 # 29 Exhibit DRA
                                               Exhibit 398 # 30 Exhibit DRA
                                               Exhibit 399 # 31 Exhibit DRA
                                               Exhibit 400 # 32 Exhibit DRA
                                               Exhibit 401 # 33 Exhibit DRA
                                               Exhibit 402 # 34 Exhibit DRA
                                               Exhibit 403 # 35 Exhibit DRA
                                               Exhibit 404 # 36 Exhibit DRA
                                               Exhibit 405 # 37 Exhibit DRA
                                               Exhibit 406 # 38 Exhibit DRA
                                               Exhibit 407 # 39 Exhibit DRA
                                               Exhibit 408 # 40 Exhibit DRA
                                               Exhibit 409 # 41 Exhibit DRA
                                               Exhibit 410) filed by Isabel Torres-
                                               Sastre on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC [Torres-
                                               Sastre, Isabel] (Entered: 10/29/2021)


                                       44
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 45 of 54



                                     18963     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 412 Part 1 of
                                               4 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 412 Part 1
                                               of 4) filed by Isabel Torres-Sastre on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC [Torres-
   10/29/2021                                  Sastre, Isabel] (Entered: 10/29/2021)

                                     18964     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 412 Part 2 of
                                               4 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 412 Part 2
                                               of 4) filed by Isabel Torres-Sastre on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC [Torres-
   10/29/2021                                  Sastre, Isabel] (Entered: 10/29/2021)

                                     18967     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 412 Part 3 of
                                               4 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 412 Part 3
                                               of 4) filed by Isabel Torres-Sastre on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC [Torres-
   10/29/2021                                  Sastre, Isabel] (Entered: 10/29/2021)

                                     18968     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 412 Part 4 of
                                               4 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
   10/29/2021                                  # 1 Exhibit DRA Exhibit 412 Part 4

                                       45
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 46 of 54



                                               of 4) filed by Isabel Torres-Sastre on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC [Torres-
                                               Sastre, Isabel] (Entered: 10/29/2021)

                                     18969     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 413 to 414 Re:18862 Order
                                               on Urgent Motion to Seal Document
                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 413 # 2 Exhibit DRA Exhibit
                                               414) filed by Isabel Torres-Sastre on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC [Torres-
   10/29/2021                                  Sastre, Isabel] (Entered: 10/29/2021)

                                     18971     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 3 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 269 Part 3
                                               of 24) filed by CECILIA M SUAU
                                               BADIA on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC [SUAU
                                               BADIA, CECILIA] (Entered:
   10/29/2021                                  10/29/2021)

                                     18972     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 4 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 269 Part 4
                                               of 24) filed by CECILIA M SUAU
                                               BADIA on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC [SUAU
                                               BADIA, CECILIA] (Entered:
   10/29/2021                                  10/29/2021)

                                       46
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05       Desc: Main
                           Document Page 47 of 54



                                     18973     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 5 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit The DRA Parties Motion
                                               Submitting DRA Confirmation
                                               Exhibits Under Seal: Exhibit 269 Part
                                               5 of 24) filed by CECILIA M SUAU
                                               BADIA on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC [SUAU
                                               BADIA, CECILIA] (Entered:
   10/29/2021                                  10/29/2021)

                                     18974     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 6 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 269 Part 6
                                               of 24) filed by CECILIA M SUAU
                                               BADIA on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC [SUAU
                                               BADIA, CECILIA] (Entered:
   10/29/2021                                  10/29/2021)

                                     18975     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 7 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 269 Part 7
                                               of 24) filed by CECILIA M SUAU
                                               BADIA on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC [SUAU
                                               BADIA, CECILIA] (Entered:
   10/29/2021                                  10/29/2021)

                                     18976     Sealed Motion The DRA Parties
   10/29/2021                                  Motion Submitting DRA

                                       47
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05      Desc: Main
                           Document Page 48 of 54



                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 8 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 269 Part 8
                                               of 24) filed by CECILIA M SUAU
                                               BADIA on behalf of AmeriNational
                                               Community Services, LLC, Cantor-
                                               Katz Collateral Monitor LLC [SUAU
                                               BADIA, CECILIA] (Entered:
                                               10/29/2021)

                                     18977     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 269 Part 9 of
                                               24 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Proposed Notice DRA Exhibit
                                               269 Part 9 of 24) filed by CECILIA
                                               M SUAU BADIA on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [SUAU BADIA, CECILIA]
   10/29/2021                                  (Entered: 10/29/2021)

                                     18978     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits under Seal:
                                               Exhibit 349 Parts 1 3 of
                                               3 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 349 Part 1
                                               of 3 # 2 Exhibit DRA Exhibit 349
                                               Part 2 of 3 # 3 Exhibit DRA Exhibit
                                               349 Part 3 of 3) filed by NAYUAN
                                               ZOUAIRABANI TRINIDAD on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC
                                               [ZOUAIRABANI TRINIDAD,
   10/29/2021                                  NAYUAN] (Entered: 10/29/2021)

                                     18979     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
   10/29/2021                                  Confirmation Exhibits under Seal:

                                       48
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05      Desc: Main
                           Document Page 49 of 54



                                                Exhibits 350 to 352 Re:18862 Order
                                                on Urgent Motion to Seal Document
                                                (Attachments: # 1 Exhibit DRA
                                                Exhibit 350 # 2 Exhibit DRA Exhibit
                                                351 # 3 Exhibit DRA Exhibit 352)
                                                filed by NAYUAN ZOUAIRABANI
                                                TRINIDAD on behalf of
                                                AmeriNational Community Services,
                                                LLC, Cantor-Katz Collateral Monitor
                                                LLC [ZOUAIRABANI TRINIDAD,
                                                NAYUAN] (Entered: 10/29/2021)

                                     18980      Sealed Motion The DRA Parties
                                                Motion Submitting DRA
                                                Confirmation Exhibit under Seal:
                                                Exhibit 353 Re:18862 Order on
                                                Urgent Motion to Seal Document
                                                (Attachments: # 1 Exhibit DRA
                                                Exhibit 353) filed by NAYUAN
                                                ZOUAIRABANI TRINIDAD on
                                                behalf of AmeriNational Community
                                                Services, LLC, Cantor-Katz
                                                Collateral Monitor LLC
                                                [ZOUAIRABANI TRINIDAD,
   10/29/2021                                   NAYUAN] (Entered: 10/29/2021)

                                     18985      Objection to The DRA Parties
                                     (7 pgs)    Objections to Confirmation Hearing
                                                Exhibit Lists Related
                                                document:18682 Motion to Inform
                                                filed by AMBAC ASSURANCE
                                                CORPORATION, NATIONAL
                                                PUBLIC FINANCE GUARANTEE
                                                CORPORATION, Financial Guaranty
                                                Insurance Company, Assured
                                                Guaranty Corp., Assured Guaranty
                                                Municipal Corp. filed by NAYUAN
                                                ZOUAIRABANI TRINIDAD on
                                                behalf of AmeriNational Community
                                                Services, LLC, Cantor-Katz
                                                Collateral Monitor LLC
                                                [ZOUAIRABANI TRINIDAD,
   10/30/2021                                   NAYUAN] (Entered: 10/30/2021)

                                     18992      Motion Submitting (CORRECTED)
   11/01/2021                        (33 pgs)   The DRA Parties Confirmation

                                       49
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05      Desc: Main
                           Document Page 50 of 54



                                               Hearing Witness List, Exhibit List
                                               and Deposition Designations
                                               Re: 18675 Motion Submitting filed by
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC filed by NAYUAN
                                               ZOUAIRABANI TRINIDAD on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC
                                               [ZOUAIRABANI TRINIDAD,
                                               NAYUAN] (Entered: 11/01/2021)

                                     18999     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibits 354 to 360 Re:18862 Order
                                               on Urgent Motion to Seal Document
                                               (Attachments: # 1 Exhibit DRA
                                               Exhibit 354 # 2 Exhibit DRA Exhibit
                                               355 # 3 Exhibit DRA Exhibit 356
                                               # 4 Exhibit DRA Exhibit 357
                                               # 5 Exhibit DRA Exhibit 358
                                               # 6 Exhibit DRA Exhibit 359
                                               # 7 Exhibit DRA Exhibit 360) filed
                                               by NAYUAN ZOUAIRABANI
                                               TRINIDAD on behalf of
                                               AmeriNational Community Services,
                                               LLC, Cantor-Katz Collateral Monitor
                                               LLC [ZOUAIRABANI TRINIDAD,
   11/01/2021                                  NAYUAN] (Entered: 11/01/2021)

                                     19023     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 411 Part 1 of
                                               6 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 411 Part 1
                                               of 6) filed by NAYUAN
                                               ZOUAIRABANI TRINIDAD on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC
                                               [ZOUAIRABANI TRINIDAD,
   11/02/2021                                  NAYUAN] (Entered: 11/02/2021)

                                       50
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05     Desc: Main
                           Document Page 51 of 54



                                     19024     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 411 Part 2 of
                                               6 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 411 Part 2
                                               of 6) filed by NAYUAN
                                               ZOUAIRABANI TRINIDAD on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC
                                               [ZOUAIRABANI TRINIDAD,
   11/02/2021                                  NAYUAN] (Entered: 11/02/2021)

                                     19025     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 411 Part 3 of
                                               6 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 411 Part 3
                                               of 6) filed by NAYUAN
                                               ZOUAIRABANI TRINIDAD on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC
                                               [ZOUAIRABANI TRINIDAD,
   11/02/2021                                  NAYUAN] (Entered: 11/02/2021)

                                     19026     Sealed Motion The DRA Parties
                                               Motion Submitting DRA
                                               Confirmation Exhibits Under Seal:
                                               Exhibit 411 Part 4 of
                                               6 Re:18862 Order on Urgent Motion
                                               to Seal Document (Attachments:
                                               # 1 Exhibit DRA Exhibit 411 Part 4
                                               of 6) filed by NAYUAN
                                               ZOUAIRABANI TRINIDAD on
                                               behalf of AmeriNational Community
                                               Services, LLC, Cantor-Katz
                                               Collateral Monitor LLC
                                               [ZOUAIRABANI TRINIDAD,
   11/02/2021                                  NAYUAN] (Entered: 11/02/2021)




                                       51
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05        Desc: Main
                           Document Page 52 of 54



                                     19027       Sealed Motion The DRA Parties
                                                 Motion Submitting DRA
                                                 Confirmation Exhibits Under Seal:
                                                 Exhibit 411 Parts 5 - 6 of
                                                 6 Re:18862 Order on Urgent Motion
                                                 to Seal Document (Attachments:
                                                 # 1 Exhibit DRA Exhibit 411 Part 5
                                                 of 6 # 2 Exhibit DRA Exhibit 411
                                                 Part 6 of 6) filed by NAYUAN
                                                 ZOUAIRABANI TRINIDAD on
                                                 behalf of AmeriNational Community
                                                 Services, LLC, Cantor-Katz
                                                 Collateral Monitor LLC
                                                 [ZOUAIRABANI TRINIDAD,
   11/02/2021                                    NAYUAN] (Entered: 11/02/2021)

                                     19049       Motion Submitting The DRA Parties
                                     (276 pgs;   Motion Submitting Amended Witness
                                     4 docs)     Declarations Re: 19009 Order
                                                 (Attachments: # 1 Exhibit A -
                                                 Amended L. Martinez Declaration
                                                 # 2 Exhibit B - Amended D. Brickley
                                                 Declaration # 3 Exhibit C - Amended
                                                 D. Prager Declaration) filed by
                                                 NAYUAN ZOUAIRABANI
                                                 TRINIDAD on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC [ZOUAIRABANI TRINIDAD,
   11/03/2021                                    NAYUAN] (Entered: 11/03/2021)

                                     19065       Notice - Joint Status Report
                                     (5 pgs)     Regarding Motions in Limine to
                                                 Exclude Expert Testimony of Lizette
                                                 Martinez and Douglas J. Brickley and
                                                 Request for Leave to File a Further
                                                 Joint Status Report by No Later Than
                                                 12:00 P.M. on November 5, 2021
                                                 Re: 19020 Order filed by HERMANN
                                                 D BAUER ALVAREZ on behalf of
                                                 AmeriNational Community Services,
                                                 LLC, Cantor-Katz Collateral Monitor
                                                 LLC, The Financial Oversight and
                                                 Management Board for Puerto Rico,
                                                 as Representative of the
   11/04/2021                                    Commonwealth of Puerto Rico, et al.

                                       52
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05                       Desc: Main
                           Document Page 53 of 54



                                                             [BAUER ALVAREZ, HERMANN]
                                                             (Entered: 11/04/2021)

                                                19083        Notice - Further Joint Status Report
                                                (5 pgs)      Regarding Motions In Limine to
                                                             Exclude Expert Testimony of Lizette
                                                             Martinez and Douglas J. Brickley
                                                             Re: 18332 Notice filed by The
                                                             Financial Oversight and Management
                                                             Board for Puerto Rico, as
                                                             Representative of the Commonwealth
                                                             of Puerto Rico, et al. filed by
                                                             HERMANN D BAUER ALVAREZ
                                                             on behalf of AmeriNational
                                                             Community Services, LLC, Cantor-
                                                             Katz Collateral Monitor LLC, The
                                                             Financial Oversight and Management
                                                             Board for Puerto Rico, as
                                                             Representative of the Commonwealth
                                                             of Puerto Rico, et al. [BAUER
                                                             ALVAREZ, HERMANN] (Entered:
   11/05/2021                                                11/05/2021)

                                                19104        Notice - Joint Status Report [ECF No.
                                                (5 pgs)      19009] Re: 19009 Order filed by
                                                             HERMANN D BAUER ALVAREZ
                                                             on behalf of AmeriNational
                                                             Community Services, LLC, Cantor-
                                                             Katz Collateral Monitor LLC, The
                                                             Financial Oversight and Management
                                                             Board for Puerto Rico, as
                                                             Representative of the Commonwealth
                                                             of Puerto Rico, et al. [BAUER
                                                             ALVAREZ, HERMANN] (Entered:
   11/05/2021                                                11/05/2021)

          RESPECTFULLY SUBMITTED.

         In San Juan, Puerto Rico, this 8th day of November, 2021.

          CERTIFICATE OF SERVICE: In accordance with Fed. R. Bankr. P. 9014(b), Fed. R.
  Bankr. P. 7004(b), and the Court’s Fifteenth Amended Notice, Case Management and
  Administrative Procedures Order (Dkt. No. 17127-1) (the “CMP Order”), we hereby certify that
  a true and exact copy of the foregoing was sent by electronic mail upon all the parties listed in the
  Master Service List and by U.S. mail upon all the Standard Parties listed in the CMP Order.


                                                   53
Case:17-03283-LTS Doc#:19121 Filed:11/08/21 Entered:11/08/21 08:30:05                Desc: Main
                           Document Page 54 of 54



  MCCONNELL VALDÉS LLC                           C. CONDE & ASSOC. LAW OFFICES
  270 Muñoz Rivera Avenue, Suite 7               By:   /s/ Carmen D. Conde Torres
  Hato Rey, Puerto Rico 00918                    Carmen D. Conde Torres
  P.O. Box 364225                                (USDC No. 207312)
  San Juan, PR 00936-4225
  Tel: 787-250-5632                              /s/ Luisa S. Valle Castro
  Fax: 787-759-9225                              Luisa S. Valle Castro
                                                 (USDC No. 215611)
  By:    /s/ Arturo J. García-Solá
  Arturo J. García-Solá                          254 San José Street
  (USDC No. 201903)                              Suite 5
  E-mail: ajg@mcvpr.com                          San Juan, PR 00901-1523
                                                 Tel: 787-729-2900
  /s/ Alejandro J. Cepeda-Díaz                   Fax: 787-729-2203
  Alejandro J. Cepeda-Díaz                       E-mail: condecarmen@condelaw.com
  (USDC No. 222110)
  E-mail: ajc@mcvpr.com                          -and-

  /s/ Nayuan Zouairabani                         SCHULTE ROTH & ZABEL LLP
  Nayuan Zouairabani                             By:    /s/ Douglas S. Mintz
  (USDC No. 226411)                              Douglas S. Mintz (admitted pro hac vice)
  E-mail: nzt@mcvpr.com                          Noah N. Gillespie (admitted pro hac vice)
  Attorneys for AmeriNational Community          901 Fifteenth Street, NW, Suite 800
  Services, LLC, as Servicer for the GDB Debt    Washington, DC 20005
  Recovery Authority                             Tel: 202-729-7470
                                                 Fax: 202-730-4520
                                                 E-mail: douglas.mintz@srz.com
                                                         noah.gillespie@srz.com
                                                 -and-
                                                 Douglas Koff (admitted pro hac vice)
                                                 Taleah Jennings (admitted pro hac vice)
                                                 Abbey Walsh (admitted pro hac vice)
                                                 Peter J. Amend (admitted pro hac vice)
                                                 919 Third Avenue
                                                 New York, NY 10022
                                                 Tel: 212-756-2000
                                                 Fax: 212-593-5955
                                                 E-mail:       douglas.koff@srz.com
                                                               taleah.jennings@srz.com
                                                               abbey.walsh@srz.com
                                                               peter.amend@srz.com
                                                 Attorneys for Cantor-Katz Collateral Monitor
                                                 LLC, as Collateral Monitor for the GDB Debt
                                                 Recovery Authority

                                                54
